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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                     Plaintiff,
                                                         CR. NO. 08-20080
                v.                                       HONORABLE PAUL D. BORMAN

REGINALD CHAPPELL,

                 Defendant.
____________________________/

                                         ORDER

        Defendant, REGINALD CHAPPELL, who lives in Milwaukee, Wisconsin, is

scheduled to appear before this Court on May 19, 2008 at 3:00 p.m., for entry of a plea to an

indictment pending in the Eastern District of Michigan. Pursuant to 18 U.S.C. § 4285, he has

requested non-custodial, round-trip travel fare and subsistence expenses for that purpose.

This Court has found that defendant is indigent and appointed the Federal Defender Office

to represent him.

        IT IS THEREFORE ORDERED that the United States Marshal provide Defendant

with non-custodial, round-trip travel fare from Milwaukee, Wisconsin to Detroit,

Michigan, for the purpose of appearing on May 19, 2008, at 3:00 p.m., before this Court

in this district.
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       IT IS FURTHER ORDERED that defendant be provided with subsistence expenses

for any over-night lodging necessary to assure his appearance on May 19, 2008.

       SO ORDERED.


                                          s/Paul D. Borman
                                          PAUL D. BORMAN
                                          UNITED STATES DISTRICT JUDGE

Dated: May 5, 2008

                              CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail
on May 5, 2008.


                                          s/Denise Goodine
                                          Case Manager
